Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.209 Page 1 of 69




                UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

CHRISTOPHER CAMPOS,

      Petitioner,
                                           CASE NO. 1:18-cv-1096
v.
                                           HON. Gordon J. Quist
GREG SKIPPER,
                                           MAG. Ray Kent
      Respondent.



     ANSWER IN OPPOSITION TO PETITION FOR WRIT OF
                   HABEAS CORPUS
 Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.210 Page 2 of 69




                                    TABLE OF CONTENTS

Introduction .................................................................................................. 1

        Statements in Compliance with Habeas Rule 5(b) .......................... 3

        A.       Statute of Limitations ............................................................... 3

        B.       Exhaustion ................................................................................. 3

        C.       Procedural Default .................................................................... 3

        D.       Non-retroactivity Doctrine ....................................................... 3

Statement of the Case ................................................................................. 4

        A.       Trial Facts ................................................................................. 4

        B.       Procedural History .................................................................... 6

Standard of Review Pursuant to AEDPA ................................................ 10

Argument .................................................................................................... 15

I.      Habeas Claim I, contesting the sufficiency of the evidence, is
        procedurally defaulted, and the state trial court reasonably
        rejected this claim on the merits. .................................................... 15

        A.       Campos’s claim is procedurally defaulted. ............................ 15

                 1.       Campos’s claim of ineffective assistance of
                          appellate counsel (Habeas Claim V) does not
                          excuse the procedural default. ...................................... 17

                 2.       Failure to review this claim would not result in a
                          fundamental miscarriage of justice because
                          Campos does not present any new, reliable
                          evidence of actual innocence. ........................................ 20

        B.       Campos is not entitled to habeas relief even if this
                 Court excuses or otherwise bypasses the procedural
                 default, because there was sufficient evidence of


                                                        i
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.211 Page 3 of 69




               penetration to support Campos’s convictions for first-
               degree criminal sexual conduct. ............................................. 21

               1.      The state trial court’s decision ...................................... 21

               2.      Clearly established federal law regarding
                       sufficiency of the evidence ............................................. 24

               3.      Analysis .......................................................................... 26

II.    Habeas Claim II, contending that Campos’s waiver of his
       right to testify was not entered knowingly or voluntarily, is
       procedurally defaulted. Moreover, the state trial court
       reasonably rejected this claim on the merits.................................. 30

       A.      This claim is procedurally defaulted. .................................... 31

       B.      In any event, this claim is meritless. ..................................... 31

               1.      The state trial court’s decision ...................................... 31

               2.      Clearly established federal law regarding waiver
                       of the right to testify ...................................................... 32

               3.      Analysis .......................................................................... 33

               4.      Harmless error ............................................................... 36

III.   Habeas Claim III, alleging two instances of prosecutor
       misconduct in closing arguments, is procedurally defaulted
       and, in any event, the state courts reasonably rejected this
       claim on the merits. .......................................................................... 37

       A.      These claims are procedurally defaulted. .............................. 38

       B.      These claims are also meritless. ............................................ 40

               1.      The state courts’ decisions ............................................ 40

               2.      Clearly established federal law regarding
                       prosecutor misconduct ................................................... 42

               3.      Analysis .......................................................................... 44

                                                    ii
 Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.212 Page 4 of 69




IV.      The state courts reasonably rejected Habeas Claim IV,
         alleging various instances of ineffective assistance of trial
         counsel, on the merits. ..................................................................... 48

         A.       The state courts’ decisions ...................................................... 49

         B.       Clearly established federal law regarding ineffective
                  assistance of trial counsel ....................................................... 53

         C.       Analysis.................................................................................... 56

Conclusion .................................................................................................. 59

Relief ........................................................................................................... 64

Certificate of Service.................................................................................. 65




                                                        iii
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.213 Page 5 of 69




                           INTRODUCTION

     Petitioner, Christopher Campos, sexually assaulted his young

niece in multiple ways on multiple occasions. In particular, he

penetrated her genitals with his mouth and penis, and her anus with

his penis. She testified that it hurt when he did these things.

     As a result of his Kent County jury-based convictions of two

counts of first-degree criminal sexual conduct (person under 13), Mich.

Comp. Laws § 750.520b(1)(a), the State now holds Campos in custody in

the Michigan Department of Corrections. Campos is currently serving

concurrent sentences of 25 to 50 years’ imprisonment for each of his

first-degree criminal-sexual-conduct convictions.

     Campos commenced this action under 28 U.S.C. § 2254 by filing a

petition with this Court. The State understands the petition to be

raising the following claims:

     I.     Whether there was insufficient evidence to convict of
            first degree criminal sexual conduct where there was
            no evidence of penetration.

     II.    Whether the court failed to properly ensure that
            Petitioner knowingly, voluntarily and intelligently
            waived the right to testify.

     III.   Whether the prosecutor improperly relied on
            denigration of defense counsel with remarks about the

                                    1
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.214 Page 6 of 69




           upsetting nature of the cross-examination of the
           complainant, and by adding to the complainant’s
           testimony in closing.

     IV.   Petitioner was prejudiced by ineffective assistance of
           counsel.

     V.    Whether Petitioner was prejudiced by ineffective
           assistance of counsel on appeal.

     Should the Court interpret the petition to be raising different

claims, the State requests an opportunity to file a supplemental

pleading. To the extent that Campos failed to raise any other claims

that he raised in the state courts, those claims are now abandoned. See

Sommer v. Davis, 317 F.3d 686, 691 (6th Cir. 2003) (holding that an

issue is abandoned if a party does not present any argument respecting

the issue in his brief). Thus, habeas review of abandoned claims is

barred.

     The State now answers the petition and requests that it be denied.




                                    2
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.215 Page 7 of 69




  STATEMENTS IN COMPLIANCE WITH HABEAS RULE 5(b)

     With respect to the bars that preclude habeas review, the State

asserts the following in conformance with Habeas Rule 5(b):


     A.    Statute of Limitations

     The State is not arguing that any of Campos’s habeas claims are

barred by the statute of limitations.


     B.    Exhaustion

     The State is not arguing that consideration of any of Campos’s

habeas claims is barred by the failure to exhaust a claim for which a

state court remedy exists.


     C.    Procedural Default

     The State asserts that Campos has procedurally defaulted Habeas

Claims I, II, and III, as more fully discussed below.


     D.    Non-retroactivity Doctrine

     The State is not arguing that consideration of any of Campos’s

claims is barred by the non-retroactivity doctrine.




                                    3
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.216 Page 8 of 69




                    STATEMENT OF THE CASE

     A.    Trial Facts

     The prosecutor summarized the trial facts as follows in its brief on

direct appeal in the Michigan Court of Appeals:

     [A] testified that she is in second grade and lives in Saginaw
     with her mom, her brothers Patrick and Sam, and her sister
     Sabrina (Tr II, 63). When asked why she was in court, [A]
     answered, “Because of what Chris did to me” (Tr II, 64). [A]
     identified defendant as her uncle Chris and explained, “what
     he did is every time when my grandma was gone he would
     always take me to my grandma’s room or his room and he
     would keep trying to do stuff to me” (Tr II, 64). Specifically,
     “he will try to put his middle part into me and every time I
     try to move he’ll just take me back on his bed or on my
     grandma’s bed” (Tr II, 64). [A] indicated with her hands
     where defendant would try to put his “middle part” and
     explained those parts of her body were called “no-no spots”
     (Tr II, 65). [A] testified that she uses her “no-no spots” when
     she goes to the bathroom; she goes pee out of one no-no spot
     and poops out of the other (Tr II, 66-67). She also testified
     that her front no-no spot is her “private” and her back no-no
     spot is her “butt” (Tr II, 67). [A] testified that defendant
     touched her in her no-no spots at her grandma’s house in
     Grand Rapids when she was visiting her dad, grand-parents,
     and defendant and that she remembers it happening in her
     grandma’s room and upstairs in defendant’s room (Tr II, 67-
     68). She explained that other grownups were not at home
     when it happened and gave examples like her grandma
     being somewhere like a store buying things or her dad
     hanging out across the street at her aunt’s house (Tr II, 69).
     [A] testified that defendant touches her front no-no spot with
     his hands “but he mostly touches with his tongue” where she
     goes “pee-pee” (Tr II, 69-70).



                                    4
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.217 Page 9 of 69




     [A] testified that defendant also tries to touch her with his
     no-no spot where he goes pee-pee from; she pointed to her
     face and explained that defendant would try to put it in her
     mouth but she kept moving her head away from him (Tr II,
     71-72). [A] testified that defendant tried to put his no-no in
     her back no-no spot and her front no-no spot (Tr II, 72).
     When asked if her no-no spots hurt when defendant tried to
     put his no-no spot in them, [A] answered, “Yes. It hurted
     right back here and right here when he tried to here. It kind
     of hurted” (Tr II, 74-75). [A] testified that both her front and
     back no-no spots had hurt (Tr II, 75). During redirect, the
     prosecution clarified again that it hurt when defendant tried
     to put his no-no spot in her front and back no-no spots (Tr II,
     98-99). [A] answered, “Yeah, because he was trying to and it
     went - - he tried to, and he actually got it back and then it
     hurt” (Tr II, 99). She also testified that defendant wanted
     her to touch his no-no spot and demonstrated how he wanted
     her to move her hands back and forth; [A] testified that she
     tried to pull her hands away but defendant would not let her
     (Tr II, 72-73). Defendant would have his clothes on when
     these offenses took place but would take his penis out of his
     pants (Tr II, 73). Finally, [A] testified that she saw
     something like slime come out of defendant’s no-no spot and
     the slime was “like white mixed with a little bit of yellow”
     (Tr II, 74-75).

(2/17/14 People’s Br. on Appeal at 1–2.)

     The Michigan Court of Appeals also accurately summarized the

facts adduced at trial as follows:

     The victim, who was seven years old at the time of trial,
     alleged that defendant sexually assaulted her at various
     times during 2010 and 2011 while she was visiting her
     father at her grandmother's house in Grand Rapids,
     Michigan.



                                     5
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.218 Page 10 of 69




People v. Campos, No. 315683, 2014 WL 3928803, at *1 (Mich. Ct. App.

Aug. 12, 2014). This recitation of the facts is entitled to the

presumption of correctness under § 2254(e)(1), and Campos has not

demonstrated through clear and convincing evidence that this summary

is incorrect.

      The presumption of correctness extends to factual findings made

by state appellate courts on the basis of their review of trial court

records. Treesh v. Bagley, 612 F.3d 424, 430 n.1 (6th Cir. 2010);

Brumley v. Wingard, 269 F.3d 629, 637 (6th Cir. 2001) (citing Sumner v.

Mata, 449 U.S. 539, 546–47 (1981)).

      The State opposes any factual assertions made by Campos that

are not directly supported by—or consistent with—the state court

record, because Campos has failed to overcome the presumption of

factual correctness under 28 U.S.C. § 2254(e)(1) or meet the

requirements of 28 U.S.C. § 2254(e)(2).


      B.    Procedural History

      Campos was convicted of two counts of first-degree criminal

sexual conduct (person under 13). The trial court sentenced him to

concurrent prison terms of 25 to 50 years for each of his convictions.


                                     6
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.219 Page 11 of 69




     Following his conviction and sentence, Campos filed a claim of

appeal in the Michigan Court of Appeals, which raised the following

claims:

     I.     Did Defendant receive ineffective assistance of counsel
            when trial counsel failed to timely object to, or failed to
            move for a mistrial after, testimony by the
            prosecution’s expert?

     II.    Was trial counsel constitutionally ineffective for failing
            to object to the admission of hearsay statements from
            the alleged victim through witness Bonnie Skornia?

     III.   Did errors of prosecutorial misconduct, whether
            constitutional in nature or not, preserved or
            unpreserved, deprive Defendant of a fair and impartial
            trial?

     IV.    Did Defendant receive ineffective assistance of counsel
            when counsel failed to request removal of a juror after
            that juror was seen crying, expressed sympathy for the
            victim, and manifested an inability to be fair and
            impartial[?]

     V.     Did the cumulative effect of the trial errors described
            above in Arguments I–IV deny Defendant a
            constitutionally fair trial?

     VI.    Did Defendant receive ineffective assistance of counsel
            regarding the plea offer he rejected and should this
            Court conduct an evidentiary hearing and/or order the
            prosecution to re-offer the plea agreement?

     VII. Is Defendant entitled to resentencing because this
          Court labored under the mistaken belief that
          consecutive sentencing was permissible in this case
          and believed it was sentencing the Defendant less
          harshly by imposing concurrent sentences; and did the

                                      7
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.220 Page 12 of 69




           trial court err in failing to provide substantial and
           compelling reasons for its upward departure from the
           mandatory minimum sentence?

     While the appeal was pending, the trial court amended its

judgment of sentence from 30-to-50 years’ imprisonment to 25-to-50

years’ imprisonment for each of Campos’s convictions, resolving

Campos’s sentencing claim on appeal.

     The Michigan Court of Appeals affirmed Campos’s convictions in

an unpublished opinion. Campos, 2014 WL 3928803, at *6.

     Campos subsequently filed an application for leave to appeal in

the Michigan Supreme Court, which raised the same claims as in the

Michigan Court of Appeals, aside from the sentencing claim. The

Michigan Supreme Court denied the application because it was not

persuaded that the questions presented should be reviewed by the

Court. People v. Campos, 863 N.W.2d 321 (Mich. 2015) (unpublished

table decision).

     Campos then returned to the trial court and filed a motion for

relief from judgment, which raised his present habeas claims. The trial

court denied the motion for relief from judgment under Mich. Ct. R.

6.508(D)(3) and on the merits. (12/20/16 Kent Cir. Ct. Order at 1–5.)



                                     8
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.221 Page 13 of 69




     After the trial court denied the motion for relief from judgment,

Campos filed an application for leave to appeal in the Michigan Court of

Appeals. The court denied the application for leave to appeal for failure

to establish that the trial court erred in denying the motion for relief

from judgment. (12/21/17 Mich. Ct. App. Order at 1.)

     Campos applied for leave to appeal this decision in the Michigan

Supreme Court, but was also denied relief under Michigan Court Rule

6.508(D). People v. Campos, 917 N.W.2d 383 (Mich. 2018) (unpublished

table decision).




                                     9
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.222 Page 14 of 69




         STANDARD OF REVIEW PURSUANT TO AEDPA

     Campos’s habeas petition is governed by the Antiterrorism and

Effective Death Penalty Act (AEDPA). AEDPA prevents a federal court

from granting habeas corpus relief based on any claim “adjudicated on

the merits” in state court, unless the petitioner can establish that the

state court adjudication:

           (1) resulted in a decision that was contrary to, or
     involved an unreasonable application of, clearly established
     Federal law as determined by the Supreme Court of the
     United States; or

          (2) resulted in a decision that was based on an
     unreasonable determination of the facts in light of the
     evidence presented in the State court proceeding.

28 U.S.C. § 2254(d).

     Under the “contrary to” clause of § 2254(d)(1), the petitioner must

establish that “the state court arrive[d] at a conclusion opposite to that

reached by [the Supreme] Court on a question of law or . . . decide[d] a

case differently than [the Supreme] Court has on a set of materially

indistinguishable facts.” Metrish v. Lancaster, 569 U.S. 351, 357 n.2

(2013) (internal quotation marks and citation omitted).




                                    10
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.223 Page 15 of 69




     Under the “unreasonable application” clause of § 2254(d)(1), the

petitioner must establish that, after “identif[ying] the correct governing

legal principle from the Supreme Court’s decisions, [the state court]

unreasonably applie[d] that principle to the facts of [his] case.” Hill v.

Curtin, 792 F.3d 670, 676 (6th Cir. 2015) (en banc) (alteration omitted).

“[T]he state court’s decision must have been more than incorrect or

erroneous[;]” rather, it must have been “so lacking in justification that

there was an error well understood and comprehended in existing law

beyond any possibility for fairminded disagreement.” Id. (quoting

Wiggins v. Smith, 539 U.S. 510, 520–21 (2003)). “[E]ven clear error will

not suffice.” White v. Woodall, 134 S. Ct. 1697, 1702 (2014). Again, the

state court’s determinations of law and fact must be “so lacking in

justification” as to give rise to error “beyond any possibility for

fairminded disagreement.” Dunn v. Madison, 138 S. Ct. 9, 12 (2017)

(per curiam) (quoting Harrington v. Richter, 562 U.S. 86, 103 (2011)).

     Moreover, not just any Supreme Court decision will do under §

2254(d)(1). “Clearly established Federal law for purposes of § 2254(d)(1)

includes only the holdings, as opposed to the dicta,” of the Supreme

Court’s decisions. Woods v. Donald, 135 S. Ct. 1372, 1376 (2015) (per



                                     11
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.224 Page 16 of 69




curiam) (internal quotations and citations omitted). Where no Supreme

Court case has confronted “the specific question presented” by the

habeas petitioner, “the state court’s decision [cannot] be contrary to any

holding from this Court.” Woods v. Donald, 135 S. Ct. at 1377 (internal

quotation marks and citation omitted). Moreover, the Supreme Court

decision must have been on the books at “the time the state court

render[ed] its decision.” Greene v. Fisher, 565 U.S. 34, 38 (2011)

(internal quotation marks and emphasis omitted); see also Cullen v.

Pinholster, 563 U.S. 170, 182 (2011) (“State-court decisions are

measured against [the Supreme] Court’s precedents as of the time the

state court renders its decision.”) (internal quotation marks omitted).

     “It is not an unreasonable application of clearly established

Federal law for a state court to decline to apply a specific legal rule that

has not been squarely established by this Court.” Richter, 562 U.S. at

101 (internal quotation marks and citation omitted). As the Supreme

Court has repeatedly pointed out, “circuit precedent does not constitute

clearly established Federal law, as determined by the Supreme Court.”

Kernan v. Cuero, 138 S. Ct. 4, 8 (2017) (per curiam) (quoting Glebe v.

Frost, 135 S. Ct. 429, 430 (2014)) (per curiam). Likewise, neither do



                                     12
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.225 Page 17 of 69




“state-court decisions, treatises, or law review articles” constitute

clearly established Federal law as determined by the Supreme Court.

Cuero, 138 S. Ct. at 8.

     And federal court of appeals precedent cannot “refine or sharpen a

general principle of Supreme Court jurisprudence into a specific legal

rule that [the Supreme] Court has not announced.” Marshall v.

Rodgers, 569 U.S. 58, 63 (2013) (per curiam) (citation omitted); see also

Lopez v. Smith, 135 S. Ct. 1, 4 (2014) (providing that absent a decision

by the Supreme Court addressing “the specific question presented by [a]

case” a federal court cannot reject a state court’s assessment of claim).

     Under § 2254(d)(2), the “unreasonable determination” subsection,

“a determination of a factual issue made by a State court shall be

presumed to be correct,” and the petitioner “shall have the burden of

rebutting the presumption of correctness by clear and convincing

evidence.” Wood v. Allen, 558 U.S. 290, 293 (2010). “[A] state-court’s

factual determination is not unreasonable merely because the federal

habeas court would have reached a different conclusion in the first

instance.” Burt v. Titlow, 571 U.S. 12, 15 (2013) (internal quotation

marks and citation omitted).



                                    13
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.226 Page 18 of 69




     The Supreme Court has also instructed habeas courts to apply a

rebuttable presumption that a “federal claim was adjudicated on the

merits” even “[w]hen a state court rejects a federal claim without

expressly addressing that claim.” Johnson v. Williams, 568 U.S. 289,

301 (2013). See also Kernan v. Hinojosa, 136 S. Ct. 1603, 1606 (2016)

(per curiam) (“Containing no statement to the contrary, the Supreme

Court of California’s summary denial of Hinojosa’s petition was

therefore on the merits.”).

     Finally, Campos’s burden is made even heavier by the fact that a

federal court is “limited to the record that was before the state court

that adjudicated the claim on the merits.” Pinholster, 563 U.S. at 181.




                                    14
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.227 Page 19 of 69




                              ARGUMENT

I.   Habeas Claim I, contesting the sufficiency of the evidence,
     is procedurally defaulted, and the state trial court
     reasonably rejected this claim on the merits.

     Campos first claims that the evidence presented at trial was

insufficient to support his convictions for first-degree criminal sexual

conduct for sexually penetrating the 7-year-old victim. But his claim is

procedurally defaulted because he raised this claim for the first time in

his motion for relief from judgment and failed to demonstrate cause and

prejudice for failing to raise it on direct appeal. Moreover, the state

trial court also reasonably rejected this claim on the merits. Thus,

Campos is not entitled to habeas relief on this claim.


     A.    Campos’s claim is procedurally defaulted.

     To the extent a petitioner deprives the state court of the

opportunity to review his claims by failing to follow reasonable state-

court procedures, review of the claims is barred. “[P]rocedural default

results where three elements are satisfied: (1) the petitioner failed to

comply with a state procedural rule that is applicable to the petitioner’s

claim; (2) the state courts actually enforced the procedural rule in the

petitioner’s case; and (3) the procedural forfeiture is an ‘adequate and


                                    15
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.228 Page 20 of 69




independent’ state ground foreclosing review of a federal constitutional

claim.” Willis v. Smith, 351 F.3d 741, 744 (6th Cir. 2003) (quoting

Maupin v. Smith, 785 F.2d 135, 138 (6th Cir. 1986)). Also, a state court

does not fail to sufficiently rely on a procedural bar by ruling on the

merits in the alternative. McBee v. Abramajtys, 929 F.2d 264, 267 (6th

Cir. 1996).

      The Sixth Circuit Court of Appeals has held that Mich. Ct. R.

6.508(D)(3) establishes a procedural bar on federal habeas review.

Guilmette v. Howes, 624 F.3d 286, 291 (6th Cir. 2010) (en banc).

Moreover, when the Michigan appellate courts issue ambiguous orders

citing only Mich. Ct. R. 6.508(D) in affirming the trial court’s denial of a

motion for relief from judgment, a federal habeas court must “look to

the last reasoned state court opinion to determine the basis for the state

court’s rejection of [the petitioner’s] claim.” Id.

      In this case, Campos failed to comply with the state procedural

rule that requires defendants to show good cause and actual prejudice

for failing to raise a post-conviction claim on appeal rather than in a

motion for relief from judgment. See Mich. Ct. R. 6.508(D)(3). The last

state court to issue a reasoned opinion on his claim was the trial court,



                                      16
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.229 Page 21 of 69




which denied relief because Campos failed to show good cause and

actual prejudice for his failure to raise the claim on direct appeal.

(12/20/16 Kent Cir. Ct. Order at 3–4.) This reason for denying relief

constitutes a procedural default. Guilmette, 624 F.3d at 291.


           1.    Campos’s claim of ineffective assistance of
                 appellate counsel (Habeas Claim V) does not
                 excuse the procedural default.

     A State prisoner who fails to comply with a State’s procedural rule

waives the right to federal habeas review absent a showing of cause for

noncompliance and actual prejudice resulting from the alleged

constitutional violation, or a showing of a fundamental miscarriage of

justice. Coleman v. Thompson, 501 U.S. 722, 748–50 (1991); Sutton v.

Carpenter, 745 F.3d 787, 789–90 (6th Cir. 2014).

     To establish cause, a petitioner must establish that some external

impediment frustrated his ability to comply with the state’s procedural

rule. See, e.g., Murray v. Carrier, 477 U.S. 478, 488 (1986); Haliym v.

Mitchell, 492 F.3d 680, 690–91 (6th Cir. 2007). A petitioner must

present a substantial reason to excuse the default. Hall v. Vasbinder,

563 F.3d 222, 236 (6th Cir. 2009); see also Amadeo v. Zant, 486 U.S.

214, 222–23 (1988) (reviewing a claim that a document was concealed


                                    17
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.230 Page 22 of 69




by officials). One recognized reason includes attorney error rising to the

level of ineffective assistance of counsel. Edwards v. Carpenter, 529

U.S. 446, 451–52 (2000); McCleskey v. Zant, 499 U.S. 467, 493–94

(1991).

      Here, Campos alleges ineffective assistance of appellate counsel in

Habeas Claim V to excuse his default. To demonstrate ineffective

assistance of appellate counsel, the petitioner must show that counsel

performed deficiently and that there is a reasonable probability of a

different result on appeal had counsel performed differently. Strickland

v. Washington, 466 U.S. 668 (1984).

      Appellate counsel performs deficiently if he or she fails “to find

arguable issues to appeal—that is, that counsel unreasonably failed to

discover nonfrivolous issues and to file a merits brief raising them.”

Smith v. Robbins, 528 U.S. 259, 285 (2000). Because appellate

attorneys “need not (and should not) raise every nonfrivolous claim,”

petitioners contending that their appellate counsel was ineffective for

failing to raise a particular claim will necessarily find it “difficult to

demonstrate that counsel was incompetent.” Id. at 288.




                                      18
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.231 Page 23 of 69




     For prejudice, a petitioner “must show a reasonable probability

that, but for his counsel’s unreasonable failure to file a merits brief, he

would have prevailed on his appeal.” Robbins, 528 U.S. at 285. “A

reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Strickland, 466 U.S. at 694. That is, a

petitioner must show that his appellate attorney was so thoroughly

ineffective that defeat was “snatched from the jaws of victory.” United

States v. Morrow, 977 F.2d 222, 229 (6th Cir. 1992) (en banc), cert. den.,

508 U.S. 975 (1993); West v. Seabold, 73 F.3d 81, 94 (6th Cir. 1996).

     Essentially, a petitioner must show that the claim he contends

should have been raised on appeal was a “dead-bang winner.” Meade v.

Lavigne, 265 F. Supp. 2d 849, 870 (E.D. Mich. 2003), aff’d, 104 F. App’x

461 (6th Cir. 2004). “A ‘dead-bang winner’ is an issue which was

obvious from the trial record . . . and one which would have resulted in

a reversal on appeal.” Id. (internal citations and quotation marks

omitted). In fact, the Supreme Court has rejected the claim that

counsel was ineffective simply because counsel did not take action when

“there was nothing to lose by pursuing it.” Knowles v. Mirzayance, 556

U.S. 111, 121–22 (2009).



                                     19
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.232 Page 24 of 69




     In this case, appellate counsel provided effective assistance given

that Campos’s underlying sufficiency claim is meritless. Appellate

counsel cannot be faulted for failing to raise meritless claims on appeal.

Coley v. Bagley, 706 F.3d 741, 752 (6th Cir. 2014). Further, as the

Supreme Court has recognized, “[e]xperienced advocates since time

beyond memory have emphasized the importance of winnowing out

weaker arguments on appeal and focusing on one central issue if

possible, or at most on a few key issues.” Jones v. Barnes, 463 U.S. 745,

751–52 (1983). That is precisely what appellate counsel did in this case.

     Thus, Habeas Claim V cannot excuse the procedural default.


           2.    Failure to review this claim would not result in a
                 fundamental miscarriage of justice because
                 Campos does not present any new, reliable
                 evidence of actual innocence.

     The narrow exception for fundamental miscarriages of justice is

reserved for the extraordinary case in which the alleged constitutional

error probably resulted in the conviction of one who is actually innocent

of the underlying offense. Dretke v. Haley, 541 U.S. 386, 388 (2004);

Carrier, 477 U.S. at 496. A claim of actual innocence “requires [the]

petitioner to support his allegations of constitutional error with new



                                    20
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.233 Page 25 of 69




reliable evidence – whether it be exculpatory scientific evidence,

trustworthy eyewitness accounts, or critical physical evidence – that

was not presented at trial.” Schlup v. Delo, 513 U.S. 298, 324 (1995).

     To show that his case is the “extraordinary” one warranting

application of this exception, Campos must demonstrate “that it is more

likely than not that no reasonable juror would have convicted him in

the light of the new evidence.” Schlup, 513 U.S. at 321, 327. Campos

has not presented any new, reliable evidence in support of a claim of

actual innocence. Therefore, a miscarriage of justice will not occur as a

result of the Court’s failure to consider the substantive merits of

Campos’s claim.

     Thus, Habeas Claim I is procedurally defaulted, and habeas relief

is barred. See Davila v. Davis, 137 S. Ct. 2058, 2064 (2017).


     B.    Campos is not entitled to habeas relief even if this
           Court excuses or otherwise bypasses the procedural
           default, because there was sufficient evidence of
           penetration to support Campos’s convictions for first-
           degree criminal sexual conduct.

           1.     The state trial court’s decision

     A state court does not waive a procedural default by looking

beyond the default to determine if there are circumstances warranting


                                    21
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.234 Page 26 of 69




review on the merits. Seymour v. Walker, 224 F.3d 542, 557 (6th Cir.

2000) (citing Paprocki v. Foltz, 869 F.2d 281, 284–85 (6th Cir. 1989)).

For example, plain error review does not constitute a waiver of

state procedural default rules. Wogenstahl v. Mitchell, 668 F.3d 307,

337 (6th Cir. 2012). Nor does a State court fail to sufficiently rely upon

a procedural default by otherwise ruling on the merits in the

alternative. See Hinkle v. Randle, 271 F.3d 239, 244 (6th Cir. 2001).

     Here, the state trial court also rejected this claim on the merits:

     Defendant claims there was insufficient evidence to convict
     him of first-degree criminal sexual conduct for penile-anal or
     penile-vaginal penetration. According to defendant, the
     evidence only showed that he “tried” to achieve vaginal and
     anal penetration, but he was unsuccessful. He claims trial
     and appellate counsel were ineffective for failing to raise
     these arguments regarding sufficiency of the evidence.

     When reviewing a claim of insufficient evidence, the
     evidence must be viewed in a light most favorable to the
     prosecution. People v Hardiman, 466 Mich 417, 421 (2002).
     The question is then “whether a rational trier of fact could
     find the defendant guilty beyond a reasonable doubt.” Id.

     Defendant was convicted of two counts of first-degree
     criminal sexual conduct based on “sexual penetration”. See
     MCL 750.520b(1). “Sexual penetration” is specifically
     defined by statute to mean “sexual intercourse, cunnilingus,
     fellatio, anal intercourse, or any other intrusion, however
     slight, of any part of a person’s body or of any object into the
     genital or anal openings of another person’s body, but
     emission of semen is not required.” MCL 750.520a(r)
     (emphasis added).

                                    22
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.235 Page 27 of 69




     In this case, as an initial matter, defendant does not raise
     arguments related to Count 2, which was for cunnilingus. It
     appears defendant is operating under the mistaken belief
     that Count 1 was for penile-anal penetration and Count 2
     was for penile-vaginal penetration. However, as mentioned
     above, Count 1 was for penile-anal and/or penile-vaginal
     penetration, while Count 2 was for cunnilingus. [A]’s
     testimony regarding defendant touching her front no-no spot
     with his tongue was plainly sufficient to allow a conviction
     based on cunnilingus in Count 2. See People v Legg, 197
     Mich App 131 (1992).

     As for Count 1, at trial, [A] described defendant trying to put
     his no-no spot in her front and back no-no spots. She stated
     that it hurt when he did this, and when asked further about
     it hurting, she responded, “Yeah, because he was trying to
     and it went—he tried to, and he actually got it back and then
     it hurt. And so I hurry up and ran and I went downstairs.”
     Making reasonable inferences from the testimony regarding
     defendant’s actions and [A]’s pain, a rational factfinder could
     find beyond a reasonable doubt that penetration of genital or
     anal openings, however slight, occurred. See also People v
     Taylor, unpublished opinion per curiam of the Court of
     Appeals, issued Sept. 22, 2011 (Docket No. 298183) (finding
     testimony adequate to establish penetration when the victim
     “indicated that defendant was attempting to put his penis in
     her vagina, but it was not going in ‘[a]nd that hurt’”).

     Accordingly, there is sufficient evidence supporting the
     convictions on both counts. Trial counsel was not ineffective
     for failing to raise issues related to sufficiency of the
     evidence because such efforts would have been futile. See
     People v Ericksen, 288 Mich App 192, 201 (2010).

(12/20/16 Kent Cir. Ct. Order at 3–4.)




                                    23
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.236 Page 28 of 69




           2.    Clearly established federal law regarding
                 sufficiency of the evidence

     Due process requires that the prosecutor present sufficient

evidence to convince any reasonable juror that the petitioner is guilty

beyond a reasonable doubt, viewing the evidence in the light most

favorable to the prosecution. Jackson v. Virginia, 443 U.S. 307, 319

(1979). Accordingly, “a federal habeas corpus court faced with a record

of historical facts that supports conflicting inferences must presume—

even if it does not affirmatively appear in the record—that the trier of

fact resolved any such conflicts in favor of the prosecution, and must

defer to that resolution.” Id. at 326.

     This standard “gives full play to the responsibility of the trier of

fact fairly to resolve conflicts in the testimony, to weigh the evidence,

and to draw reasonable inferences from basic facts to ultimate facts,”

and is applied “with explicit reference to the substantive elements of the

criminal offense as defined by state law.” Jackson, 443 U.S. at 319, 324

n.16. Due to the great deference afforded to the trier of fact under this

standard, “a defendant who challenges the sufficiency of the evidence to

sustain his conviction faces a nearly insurmountable hurdle.” Davis v.




                                    24
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.237 Page 29 of 69




Lafler, 658 F.3d 525, 534 (6th Cir. 2011) (en banc) (internal citation and

quotation marks omitted).

     The scope of sufficiency claims on habeas review is limited.

Cavazos v. Smith, 565 U.S. 1 (2011) (per curiam). In that case, the

Court stated that Jackson “makes clear that it is the responsibility of

the jury—not the court—to decide what conclusions should be drawn

from evidence admitted at trial.” Id. at 2. “A reviewing court may set

aside the jury’s verdict on the ground of insufficient evidence only if no

rational trier of fact could have agreed with the jury.” Id. (emphasis

added). A federal court sitting in habeas “may not overturn a state

court decision rejecting a sufficiency of the evidence challenge simply

because the federal court disagrees with the state court;” rather, the

court “may do so only if the state court decision was ‘objectively

unreasonable.’” Id. (quoting Renico v. Lett, 559 U.S. 766, 773 (2010)).

     The Supreme Court also emphasized that the Jackson standard is

broad: “Because rational people can sometimes disagree, the inevitable

consequence of this settled law is that judges will sometimes encounter

convictions that they believe to be mistaken, but that they must

nonetheless uphold.” Cavazos, 565 U.S. at 2. Indeed, the Sixth Circuit



                                    25
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.238 Page 30 of 69




Court of Appeals has noted that the Jackson standard is “exceedingly

general.” Davis, 658 F.3d at 535. And “the more general the rule at

issue—and thus the greater the potential for reasoned disagreement

among fair-minded judges—the more leeway state courts have in

reaching outcomes in case-by-case determinations.” Lett, 559 U.S. at

776 (internal citations and quotations marks omitted).

     In addition, sufficiency claims are entitled to double deference on

habeas review. Parker v. Matthews, 567 U.S. 37, 43 (2012) (per curiam)

(“In light of this twice-deferential standard, it is abundantly clear that

the [state court’s] rejection of Matthews’ sufficiency claim is controlling

in this federal habeas proceeding.”); accord Cavazos, 565 U.S. at 7

(“When the deference to state court decisions required by § 2254(d) is

applied to the state court’s already deferential review . . . there can be

no doubt of the Ninth Circuit’s error below.”).


           3.    Analysis

     Campos seems to think direct testimony from a 7-year-old girl

regarding penetration was required to support his convictions,

precluding any reasonable inferences from her testimony that Campos

“tried” to sexually penetrate her, which in turn caused her pain. But


                                     26
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.239 Page 31 of 69




the law is not so ignorant. Prosecutors may argue not only the evidence

in the record, but any reasonable inferences from that evidence. Bates

v. Bell, 402 F.3d 635, 646 (6th Cir. 2005) (“[P]rosecutors can argue the

record, highlight the inconsistencies or inadequacies of the defense, and

forcefully assert reasonable inferences from the evidence.”).

     Campos argues that penetration cannot be reasonably inferred

from the victim’s testimony. But the true unreasonableness lies in

expecting a 7-year-old child to describe the minutia of human anatomy

to establish penetration. The young girl likely did not know, or at least

may not have been able to articulate, the differences between the labia

majora, labia minora, and vagina, or the depth of penetration of her

vagina or anus. All she knew is that Campos attempted to insert his

penis into her genital and anal openings, that this caused her pain, that

he used his mouth on her genitals, and that white slime came out of his

penis at least once. (2/19/13 Trial Tr. at 69–75, 99.) In short, she

testified about what happened to the best of her ability.

     It was eminently reasonable for the prosecutor to argue—and the

jury to determine—that the pain resulted from whatever minimal

penetration Campos was able to accomplish. The pain was likely



                                    27
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.240 Page 32 of 69




caused by stretching of the genital and anal openings with Campos’s

“no-no spot,” i.e., penis. Michigan law is also clear that cunnilingus

constitutes penetration. MCL 750.520a(r); People v. Legg, 494 N.W.2d

797, 798 (Mich. Ct. App. 1992) (“An act of cunnilingus, by definition,

involves an act of sexual penetration.”).

     While Campos argues that that inference is not reasonable, and

even that expert testimony on that point was required, he is again

mistaken. The jury of adult men and women were perfectly capable of

using their common sense and experiences to reasonably infer what

caused the victim’s pain after Campos “tried” to put his no-no spot in

the victim’s no-no spots: penetration, however slight.

     Situations like this are precisely why Michigan law broadly

defines penetration. Under MCL 750.520a(r), “sexual penetration”

includes “any . . . intrusion, however slight, of any part of a person’s

body or of any object into the genital or anal openings of another

person’s body . . . .” (Emphasis added.) Indeed, the Michigan

Legislature used the term “genital opening,” rather than “vagina,”

broadening the definition of penetration to include any intrusion

“beyond the body surface,” including penetration of the labia:



                                     28
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.241 Page 33 of 69




     One object of the Legislature in providing for degrees of
     criminal sexual conduct was to differentiate between sexual
     acts which affected only the body surfaces of the victim and
     those which involved intrusion into the body cavities, in the
     instant case the female “genital opening”. In view of the fact
     that the penetration of the labia majora is beyond the body
     surface, a definition of the female genital opening that
     excluded the labia would be inconsistent with the ordinary
     meaning of female genital openings. The fact that the
     Legislature used “genital opening” rather than “vagina”
     indicates an intent to include the labia. Such a definition is
     also consistent with that in most other jurisdictions. See 76
     A.L.R.3d 163, § 3, p 178.

People v. Bristol, 320 N.W.2d 229, 230 (Mich. Ct. App. 1981). Thus, the

evidence in this case was sufficient to establish penetration under

Michigan law.

     Indeed, even though Campos did not raise sufficiency of the

evidence on direct appeal, the Michigan Court of Appeals indicated that

the evidence was sufficient based on the victim’s testimony alone:

     The victim's testimony alone was sufficient to establish the
     CSC conviction involving cunnilingus, People v. Harris, 158
     Mich.App 463, 470; 404 NW2d 779 (1987), as well the CSC
     conviction involving sexual penetration, MCL 750.520a(r).
     People v. Lemmon, 456 Mich. 625, 642 n 22; 576 NW2d 129
     (1998). Thus, because there is sufficient evidence to support
     defendant's convictions on the basis of the victim's testimony
     alone, we conclude that the items we hold to be error are not
     so seriously prejudicial that the cumulative effect denied
     defendant a fair trial.

Campos, 2014 WL 3928803, at *5.


                                    29
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.242 Page 34 of 69




      In sum, Campos’s claim is baseless. Not only has he failed to

prove that the evidence was insufficient, but he has further failed to

meet his much higher burden of showing that the state trial court’s

determination that the evidence was not insufficient was objectively

unreasonable. Parker, 567 U.S. at 43. Accordingly, Campos is not

entitled to habeas relief on this claim.


II.   Habeas Claim II, contending that Campos’s waiver of his
      right to testify was not entered knowingly or voluntarily,
      is procedurally defaulted. Moreover, the state trial court
      reasonably rejected this claim on the merits.

      Campos argues in Habeas Claim II that his on-record waiver of

his right to testify was not entered knowingly or voluntarily because the

trial court failed to engage him in a colloquy on the matter. But his

claim is procedurally defaulted and cannot entitle him to relief.

Further, the state trial court also reasonably rejected this claim on the

merits. Any error was harmless as well. Thus, Campos is not entitled

to habeas relief on this claim.




                                    30
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.243 Page 35 of 69




     A.    This claim is procedurally defaulted.

     For the same reasons as those stated in Argument I(A), this claim

is inexcusably procedurally defaulted and therefore cannot entitle

Campos to federal habeas relief.


     B.    In any event, this claim is meritless.

           1.    The state trial court’s decision

     The state trial court also rejected this claim on the merits:

     Defendant next argues that the Court failed to ensure that
     he knowingly, voluntarily, and intelligently waived his right
     to testify. However, “there is no requirement in Michigan
     that there be an on-the-record waiver of a defendant's right
     to testify.” People v Harris, 190 Mich App 652, 661 (1991).
     Michigan trial courts have no duty to advise defendants of
     that right or to determine whether a knowing and intelligent
     waiver of that right was made. Id. at 661-662. Furthermore,
     despite the lack of any requirement of a record of waiver, the
     record in this case includes statements from trial counsel
     and defendant confirming that it was defendant's choice not
     to testify and that choice was made as a part of trial
     strategy.

     Respectfully, defendant’s arguments related to waiver of his
     right to testify lack merit and do not provide any basis for
     relief.

(12/20/16 Kent Cir. Ct. Order at 4.)




                                    31
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.244 Page 36 of 69




            2.    Clearly established federal law regarding waiver
                  of the right to testify

      A criminal defendant has a constitutional right to testify on his

own behalf. Rock v. Arkansas, 483 U.S. 44, 52 (1987). But that right is

subject to a knowing and intelligent waiver. United States v. Webber,

208 F.3d 545, 550–51 (6th Cir. 2000). And “[a]lthough the ultimate

decision whether to testify rests with the defendant, when a tactical

decision is made not to have the defendant testify, the defendant’s

assent is presumed.” Id. at 551. Thus, “[b]arring any statements or

actions from the defendant indicating disagreement with counsel or the

desire to testify, the trial court is neither required to sua sponte address

a silent defendant and inquire whether the defendant knowingly and

intentionally waived the right to testify, nor ensure that the defendant

has waived the right on the record.” Id.

      “A defendant who wants to testify can reject defense counsel’s

advice to the contrary by insisting on testifying, communicating with

the trial court, or discharging counsel.” Id. “At base, a defendant must

‘alert the trial court’ that he desires to testify or that there is a

disagreement with defense counsel regarding whether he should take

the stand.” Id. “When a defendant does not alert the trial court of a


                                      32
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.245 Page 37 of 69




disagreement, waiver of the right to testify may be inferred from the

defendant's conduct. Waiver is presumed from the defendant's failure to

testify or notify the trial court of the desire to do so.” Id. An affirmative

waiver on the record is not required. Id. at 551–52.


           3.     Analysis

     In this case, Campos validly and plainly waived his right to testify

on the record:

     Mr. Nunzio:       Your Honor – and I’m just putting this on
                       the record right now. It was my client’s
                       decision not to testify today. I just wanted
                       to – isn’t that correct, Christopher?

     The Defendant: Yes.

     The Court:        What was your answer, sir?

     The Defendant: Yes.

     The Court:        All right, thank you.

     Mr. Nunzio:       So, I just want to put that on the record.
                       It’s part of the strategy in this case.

(2/20/13 Trial Tr. at 151–52.) The record shows Campos’s decision came

with the advice of counsel and Campos did not express any confusion or

disagreement, nor did he correct his counsel or otherwise insist on

testifying. Nothing more was required for a waiver. Webber, 208 F.3d




                                     33
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.246 Page 38 of 69




at 550–52. Indeed, a valid waiver would have been presumed even if

Campos had simply stayed silent. Id.

     Campos argues that an on-record colloquy was necessary to

establish a voluntary and knowing waiver, but federal law belies his

claim. Id. First, Campos fails to cite any specific Supreme Court cases

holding that the lack of a colloquy preceding a defendant’s on-record

waiver of his right to testify constitutes reversible error. See Woods v.

Donald, 135 S. Ct. 1372, 1377 (2015) (per curiam) (“Because none of our

cases confront ‘the specific question presented by this case,’ the state

court’s decision could not be ‘contrary to’ any holding from this Court.”)

Indeed, even “similar” cases are not enough. Id. (“[T]he Sixth Circuit

framed the issue at too high a level of generality.”). This alone is fatal

to Campos’s claim.

     In addition, federal law makes clear that such a colloquy is not

required. Webber rejected this very argument, noting that “a sua

sponte inquiry from the trial judge regarding the defendant’s choice to

testify might impede on an appropriate defense strategy, might lead the

defendant to believe that defense counsel has been insufficient, or might

inappropriately influence the defendant to waive the Fifth Amendment



                                    34
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.247 Page 39 of 69




right not to testify.” 208 F.3d at 552. Webber remains good law,

including in habeas cases. See Goff v. Bagley, 601 F.3d 445, 471 (6th

Cir. 2010).

     The Michigan courts apply the same principles regarding waiver

of the right to testify. See People v. Harris, 476 N.W.2d 767, 772 (Mich.

Ct. App. 1991). Campos claims Harris is no longer good law after Iowa

v. Tovar, 541 U.S. 77 (2004), but Westlaw does not mark Harris with a

red flag, let alone a yellow flag, and the Michigan courts continue to cite

and apply Harris for the proposition that an explicit waiver of the right

to testify is not required. See People v. Coyle, No. 339505, 2018 WL

5304932, at *1 (Mich. Ct. App. Oct. 25, 2018) (“Defendant acknowledges

Harris but requests that we overrule it. However, Harris is binding

precedent, and even if we were inclined to agree with defendant (and we

are not), we could not overrule it. MCR 7.215(J)(1).”). And, in any

event, habeas relief may not be premised on state law. Estelle v.

McGuire, 502 U.S. 62 (1991).

     In sum, Campos’s claim must fail where he waived his right to

testify on the record, there was no deficiency in that waiver, and he




                                    35
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.248 Page 40 of 69




otherwise failed to express any desire to testify against his counsel’s

advice. Thus, Campos is not entitled to habeas relief on this claim.


           4.       Harmless error

     A habeas petitioner is not entitled to relief based on State trial-

court error unless he demonstrates that the error “had a substantial

and injurious effect or influence in determining the jury’s verdict.”

Brecht v. Abrahamson, 507 U.S. 619, 622 (1993); Holland v. Rivard, 800

F.3d 224, 243 (6th Cir. 2015). This is so even where the state appellate

court did not recognize the error and review the claim for harmlessness.

Fry v. Pliler, 551 U.S. 112, 121–22 (2007).

     A showing of “substantial and injurious effect or influence” means

“actual prejudice.” Gover v. Perry, 698 F.3d 295, 299 (6th Cir. 2012)

(citing Brecht, 507 U.S. at 637). See also Davis v. Ayala, 135 S. Ct.

2187, 2197–98 (2015). This means that the habeas court is left in

“grave doubt” over a matter so “evenly balanced” that the court

concludes it is in a “virtual equipoise” as to the harmlessness of the

error. Davis, 135 S. Ct. at 2211 (quoting O’Neal v. McAninch, 513 U.S.

432, 435 (1995)).




                                     36
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.249 Page 41 of 69




     Here, any error was harmless because Campos’s self-serving

testimony would not have made any difference. See White v. Steele, 629

F. App’x 690, 698–99 (6th Cir. 2015) (“Given the evidence presented at

trial, there is no reasonable possibility that the omission of Petitioner’s

testimony as presented on collateral review had a substantial and

injurious effect or influence on the jury's verdict.”). Indeed, Campos

would have put himself in a rather poor position if he had testified that

he had only “tried” to penetrate the 7-year-old victim but was not

successful. And any testimony completely denying an assault

whatsoever likely would not have carried much weight given that

Campos himself was the defendant. It was a far better strategy for

Campos to remain silent, allowing defense counsel to argue, as he did,

that the victim’s testimony lacked sufficient detail for a conviction.

     Thus, Campos is not entitled to habeas relief on this claim.


III. Habeas Claim III, alleging two instances of prosecutor
     misconduct in closing arguments, is procedurally
     defaulted and, in any event, the state courts reasonably
     rejected this claim on the merits.

     In Habeas Claim III, Campos contends that the prosecutor twice

erred in closing arguments by denigrating defense counsel and adding



                                    37
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.250 Page 42 of 69




to the victim’s testimony in arguing inferences from the evidence. But

both claims are inexcusably procedurally defaulted, barring habeas

relief. Moreover, the Michigan Court of Appeals and the state trial

court reasonably rejected these claims on the merits, and any errors

were harmless. Thus, Campos is not entitled to habeas relief on these

claims.


     A.    These claims are procedurally defaulted.

     Campos raises two prosecutor-misconduct claims: (1) that the

prosecutor denigrated defense counsel in closing argument and (2) that

the prosecutor added to the victim’s testimony in closing in arguing that

penetration occurred. The first claim was unquestionably raised and

addressed on direct appeal in the Michigan Court of Appeals, where the

court reviewed the claim for plain error. Campos, 2014 WL 3928803, at

*4–5. Campos raised the second claim in his motion for relief from

judgment, where the state trial court rejected it both under Mich. Ct. R.

6.508(D)(3) and on the merits.

     Given that the state courts applied plain-error review to the first

claim and Mich. Ct. R. 6.508(D)(3) to the second claim, both claims are




                                    38
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.251 Page 43 of 69




procedurally defaulted. As established in Argument I(A), Mich. Ct. R.

6.508(D)(3) constitutes a procedural bar. Guilmette, 624 F.3d at 291.

     A state court’s review for plain error also constitutes a procedural

default. Wogenstahl v. Mitchell, 668 F.3d 307, 336-37 (6th Cir. 2012).

Plain-error review enforces “procedural default on an independent and

adequate state ground.” Id. at 337; accord Lundgren v. Mitchell, 440

F.3d 754, 765 (6th Cir. 2006) (“[P]lain error analysis does not save a

petitioner from procedural default.”). Michigan appellate courts apply

plain-error review when an issue, including a constitutional one, is

unpreserved, typically a result of failing to contemporaneously object at

trial. Taylor v. McKee, 649 F.3d 446, 450–51 (6th Cir. 2011); see also

People v. Carines, 597 N.W.2d 130, 761–64 (Mich. 1999). The

contemporaneous-objection rule is firmly established and regularly

followed in the Michigan courts and the rule serves as an adequate and

independent state ground. Id.

     Thus, both of Campos’s prosecutor-misconduct claims are

procedurally defaulted.

     Campos asserts ineffective assistance of trial counsel to excuse the

first default and ineffective assistance of appellate counsel to excuse the



                                    39
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.252 Page 44 of 69




second default. But neither claim supports a finding of cause and

prejudice because both prosecutor-misconduct claims are meritless.

Neither trial nor appellate counsel can be faulted for failing to raise

meritless claims. Coley v. Bagley, 706 F.3d 741, 752 (6th Cir. 2014).

     Further, Campos cannot demonstrate prejudice from either claim.

Because both claims concerned closing arguments, the remedy

stemming from objections from trial counsel would have been an

admonishment from the trial court for the jury to disregard the

prosecutor’s comments, as well as reinforcement of the instruction that

the arguments of counsel are not evidence. Thus, neither default from

the prosecutor-misconduct claims can be excused.

     And, finally, Campos fails to present any new, reliable evidence of

actual innocence such that failure to review his prosecutor-misconduct

claims would result in a fundamental miscarriage of justice.

     Accordingly, review of Habeas Claim III is procedurally barred.


     B.    These claims are also meritless.

           1.    The state courts’ decisions

     The Michigan Court of Appeals rejected Campos’s manipulation

claim on the merits:


                                    40
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.253 Page 45 of 69




     The prosecutor's argument that defense counsel manipulated
     the victim's testimony during cross-examination, and would
     have manipulated the victim's younger brother had he
     testified, exceeded the bounds of proper argument because it
     suggested that defense counsel was intentionally attempting
     to mislead the jury, Unger, 278 Mich.App at 236, by focusing
     on defense counsel's cross-examination technique as related
     to the victim, rather than the actual evidence presented at
     trial. Further, the argument also impermissibly shifted the
     focus from the evidence to defense counsel's personality and
     tactics. Wise, 134 Mich.App at 101–102. However, while the
     prosecutor's comments exceeded the bounds of proper
     argument, reversal of this unpreserved issue is not required
     because defense counsel did not object and a curative
     instruction could have alleviated any prejudicial effect of the
     prosecutor's improper comments. Unger, 278 Mich.App at
     236. In addition, the jury was instructed after closing
     arguments that the lawyers' statements and arguments
     were not evidence and were only meant to help the jury
     understand the evidence and each side's legal theories.
     Moreover, we note that defense counsel addressed the
     prosecutor's arguments in his closing argument and
     attempted to turn them to his advantage. A defendant is not
     allowed to assign error on appeal to something his own
     counsel deemed proper at trial. People v. Green, 228
     Mich.App 684, 691; 580 NW2d 444 (1998).

Campos, 2014 WL 3928803, at *5.

     The state trial court also rejected Campos’s claim that the

prosecutor added to the victim’s testimony during closing:

     Defendant also suggests that the prosecutor improperly
     expanded [A]’s testimony by claiming during closing
     arguments that there was sexual penetration. However, as
     explained above, reasonable inferences from [A]’s testimony
     allow the conclusion that there was penetration sufficient to


                                    41
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.254 Page 46 of 69




      meet the definition under Michigan law. The prosecutor’s
      arguments were proper and, in any event, the jury was
      instructed that the statements of the attorneys are not
      evidence.

(12/20/16 Kent Cir. Ct. Order at 5.)

            2.    Clearly established federal law regarding
                  prosecutor misconduct

      The “clearly established Federal law” relevant to a habeas court’s

review of a prosecutorial error claim is the Supreme Court’s decision in

Darden v. Wainwright, 477 U.S. 168, 181 (1986). Parker v. Matthews,

567 U.S. 37, 45 (2012). In Darden, the Supreme Court held that a

“prosecutor’s improper comments will be held to violate the

Constitution only if they ‘so infected the trial with unfairness as to

make the resulting conviction a denial of due process.’” Id. (quoting

Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974)). “[T]he touchstone

of due process analysis ... is the fairness of the trial, not the culpability

of the prosecutor.” Smith v. Phillips, 455 U.S. 209, 219 (1982). The

standard enunciated in Darden constitutes a general rule, which

entitles the state court to “more leeway” in reaching its determination.

Yarborough v. Alvarado, 541 U.S. 652, 664 (2004).

      “Petitioner’s burden on habeas review is quite a substantial one.”

Byrd v. Collins, 209 F.3d 486, 529 (6th Cir. 2000). This court does “not

                                      42
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.255 Page 47 of 69




possess supervisory powers over state court trials.” Id. “It is the

responsibility of the state courts to police their prosecutors; [this court

has] no such authority.” Id. “Therefore, on habeas review, our

standard is limited to ‘the narrow one of due process.’” Id. (quoting

Darden, 477 U.S. at 181); see Slagle v. Bagley, 457 F.3d 501, 516 (6th

Cir. 2006) (“‘[T]he appropriate standard of review for ... a claim [of

prosecutorial misconduct] on a [petition for a] writ of habeas corpus is

the narrow one of due process, and not the broad exercise of supervisory

power.’”) (quoting Darden, 477 U.S. at 181).

      A reviewing habeas court must ask whether the state court’s

decision denying the petitioner’s prosecutorial misconduct claims “‘was

so lacking in justification that there was an error well understood and

comprehended in existing law beyond any possibility for fairminded

disagreement.’” Parker, 132 S. Ct. at 2155, (quoting Harrington, 131 S.

Ct. at 786-87. “To constitute a denial of due process, the misconduct

must be ‘so pronounced and persistent that it permeates the entire

atmosphere of the trial.” Byrd, 209 F.3d at 529-30 (quoting Pritchett v.

Pitcher, 117 F.3d 959, 964 (6th Cir. 1997)). “The Court must examine

‘the fairness of the trial, not the culpability of the prosecutor.’”



                                      43
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.256 Page 48 of 69




Pritchett, 117 F.3d at 964 (quoting Serra v. Michigan Dep’t of Corrs., 4

F.3d 1348, 1355 (6th Cir. 1993)).

     Finally, “[t]he Supreme Court has clearly indicated that the state

courts have substantial breathing room when considering prosecutorial

misconduct claims because ‘constitutional line drawing [in prosecutorial

misconduct cases] is necessarily imprecise.’” Slagle, 457 F.3d at 516

(quoting Donnelly, 416 U.S. at 645).


           3.    Analysis

     Even though these claims are procedurally defaulted, the

Michigan Court of Appeals’ ruling that Campos has not established

plain error is entitled to AEDPA deference. Federal constitutional

claims reviewed for plain error by a state court are claims adjudicated

on the merits and are entitled to review under AEDPA standards. See

Stewart v Trierweiler, 867 F.3d 633, 638 (6th Cir. 2017); see also

Fleming v. Metrish, 556 F.3d 520, 532 (6th Cir. 2009). Similarly, the

state trial court’s rejection of this claim on the merits despite the

procedural default also constitutes a merits adjudication entitled to

AEDPA deference.




                                     44
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.257 Page 49 of 69




     Turning to the first claim regarding the prosecutor’s comments

about defense counsel’s cross-examination of the victim, the Michigan

Court of Appeals concluded that the prosecutor did err, but not

reversibly so because there was no prejudice. But that determination is

not binding on this Court. See Daniels v. Lafler, 501 F.3d 735, 740 (6th

Cir. 2007) (a state court’s resolution of an issue in the Petitioner’s favor

is not entitled to deference under AEDPA because the standard of

review is a precondition to the grant of habeas relief . . . not an

entitlement to it). See also Pinkney v. Keane, 920 F.2d 1090, 1093 (2d

Cir. 1990) (Federal courts considering petitions for writs of habeas

corpus are not “bound by a state appellate court’s ruling in petitioner’s

favor on a matter of constitutional law.”).

     The State maintains that the prosecutor did not err at all. The

prosecutor argued that the victim was “manipulated and misled” on

cross-examination and then used the forensic-interviewing protocol to

demonstrate why that type of questioning led to misleading answers,

noting that leading questions with young children can lead to unreliable

or at least unclear answers. (2/21/13 Trial Tr. at 13.) This was not

improper.



                                     45
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.258 Page 50 of 69




     Indeed, even in the seminal prosecutor-misconduct case of Darden

v. Wainwright, the Supreme Court held that the prosecutor did not err

in the closing argument where the prosecutor referred to the defendant

as an “animal,” who “shouldn’t be out of his cell unless he has a leash on

him and a prison guard at the other end of that leash.” Darden, 477

U.S. at 180 n.12. The prosecutor further said, “I wish that I could see

him sitting here with no face, blown away by a shotgun.” Id. Even with

that graphic imagery, the Supreme Court “agree[d] with the reasoning

of every court to consider these comments that they did not deprive

petitioner of a fair trial.” Id. at 181. The Court emphasized that the

prosecutor did not manipulate or misstate the evidence. Id. at 182.

Here, the same is true because the prosecutor did not manipulate or

misstate the evidence.

     Further, with respect to Campos’s second claim that the

prosecutor added to the victim’s testimony in closing, the state trial

court concluded that the prosecutor did not err because she argued

reasonable inferences from the evidence. The State has already

extensively discussed the reasonableness of those inferences in

Argument I(B)(3) as part of Campos’s sufficiency-of-the-evidence claim



                                    46
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.259 Page 51 of 69




and rely on those arguments herein. Again, “prosecutors can argue the

record, highlight the inconsistencies or inadequacies of the defense, and

forcefully assert reasonable inferences from the evidence.” Bates, 402

F.3d at 646. That is precisely what the prosecutor did in this case.

     Finally, even if the prosecutor did err in either claim, any such

errors were harmless. Indeed, the Michigan Court of Appeals concluded

as much regarding the first claim. Campos, 2014 WL 3928803, at *5. A

habeas petitioner is not entitled to relief based on State trial-court error

unless he demonstrates that the error “had a substantial and injurious

effect or influence in determining the jury’s verdict.” Brecht v.

Abrahamson, 507 U.S. 619, 622 (1993); Holland v. Rivard, 800 F.3d

224, 243 (6th Cir. 2015). If a state court makes a harmlessness

determination, that decision is entitled to AEDPA deference, as is the

case here. Davis v. Ayala, 135 S. Ct. 2187, 2198 (2015). And even if

there is no state-court determination of harmlessness, Brecht still

applies. Fry v. Pliler, 551 U.S. 112, 121–22 (2007).

     In this case, any error was harmless because a curative

instruction could have easily remedied both errors in the moment, and

the jury was instructed that the attorneys’ arguments were not



                                    47
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.260 Page 52 of 69




evidence. (2/21/13 Trial Tr. at 60.) Jury instructions can nullify

improper comments by a prosecutor. Scott v. Elo, 302 F.3d 598, 604

(6th Cir. 2002). Jurors are presumed to follow their instructions.

Kansas v. Carr, 136 S. Ct. 633, 645 (2016). Further, defense counsel

responded to the prosecutor’s arguments in his own closing argument,

which also diffused any error from the prosecutor. (2/21/13 Trial Tr. at

23–27.)

      Accordingly, Campos is not entitled to habeas relief on Habeas

Claim III.


IV.   The state courts reasonably rejected Habeas Claim IV,
      alleging various instances of ineffective assistance of trial
      counsel, on the merits.

      As best the State can tell, Campos raises five instances of

ineffective assistance of trial counsel in Habeas Claim IV: (1) counsel

should have moved to quash the felony information; (2) counsel should

have moved for a directed verdict; (3) counsel failed to object to the

prosecutor misconduct alleged in Habeas Claim III; (4) counsel failed to

object to Bonnie Skornia’s testimony at trial; and (5) counsel failed to

strike a crying juror. But the state courts reasonably rejected these

claims on the merits, barring habeas relief.


                                    48
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.261 Page 53 of 69




     A.    The state courts’ decisions

     The state trial court rejected Campos’s first two ineffective-

assistance claims on the merits after concluding that the evidence

presented at trial sufficiently supported Campos’s convictions:

     Accordingly, there is sufficient evidence supporting the
     convictions on both counts. Trial counsel was not ineffective
     for failing to raise issues related to sufficiency of the
     evidence because such efforts would have been futile. See
     People v Ericksen, 288 Mich App 192, 201 (2010).

(12/20/16 Kent Cir. Ct. Order at 4.)

     The Michigan Court of Appeal also rejected Campos’s fourth and

fifth ineffective-assistance claims on the merits:

     Defendant first claims that he was denied effective
     assistance when defense counsel failed to immediately object
     to expert witness Bonnie Skornia's testimony on redirect
     examination that the victim's statements during the medical
     examination were a “bit much” to have been instilled in the
     victim. Defendant argues that Skornia's testimony
     improperly vouched for the victim's testimony and counsel
     should have objected.

     In a criminal sexual conduct case, an expert testifying
     regarding behaviors common in other abuse victims (1) may
     not testify that the sexual abuse occurred, (2) may not vouch
     for the veracity of a victim, and (3) may not testify whether
     the defendant is guilty. People v. Peterson,450 Mich. 349,
     352; 537 NW2d 857 (1995), amended 450 Mich. 1212 (1995).
     However, “(1) an expert may testify in the prosecution's case
     in chief regarding typical and relevant symptoms of child
     sexual abuse for the sole purpose of explaining a victim's
     specific behavior that might be incorrectly construed by the


                                    49
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.262 Page 54 of 69




     jury as inconsistent with that of an actual abuse victim, and
     (2) an expert may testify with regard to the consistencies
     between the behavior of the particular victim and other
     victims of child sexual abuse to rebut an attack on the
     victim's credibility.” Id . at 352–353.

     Skornia improperly vouched for the truthfulness of the
     victim when she testified that the victim's statements, that
     defendant tried to put “it” in her “front no-no,” but it hurt
     and defendant could not do it, were “a bit much” for the
     statements to have been instilled by her mother. Id. at
     352. We agree that trial counsel should have immediately
     objected, id., but we conclude that reversal is not required
     because defendant is unable to prove that, but for this
     deficiency, there is a reasonable probability that the outcome
     of the trial would have been different. Strickland, 466 U.S.
     687–688, 694; Trakhtenberg, 493 Mich. at 51. Defense
     counsel objected after the prosecutor's immediate follow-up
     question. At that time, the trial court gave a curative
     instruction, making it clear that the jury was the trier of
     fact, not Skornia. Following the close of evidence, the trial
     court also instructed the jury that it was the finder of fact
     and that it was the jury's job to decide which witnesses to
     believe. In addition, the jury was instructed that it did not
     have to believe an expert's opinion. “Jurors are presumed to
     follow their instructions, and instructions are presumed to
     cure most errors.” People v. Abraham, 256 Mich.App 265,
     279; 662 NW2d 836 (2003). Thus, defendant is unable to
     prove that, but for this deficiency, there is a reasonable
     probability that the outcome of the trial would have been
     different. Strickland, 466 U.S. 687–688, 694; Trakhtenberg,
     493 Mich. at 51.

     We further conclude that defense counsel was not ineffective
     for failing to request a mistrial after Skornia's improper
     comment. Skornia's testimony was cured through jury
     instructions and Skornia was not allowed to answer the
     prosecutor's clarifying question following defense counsel's
     objection; thus, the alleged error was not so egregious that

                                    50
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.263 Page 55 of 69




     any prejudice could not be cured. People v. Gonzales, 193
     Mich.App 263, 266; 483 NW2d 458 (1992). Thus, a mistrial
     would not have been granted, and defense counsel is not
     required to argue a meritless motion for mistrial, People v.
     Ericksen, 288 Mich.App 192, 201; 793 NW2d 120 (2010), and
     any failure to move for a mistrial was cured by the trial
     court's instruction to the jury that it was the finder of fact,
     not Skornia, Abraham, 256 Mich.App at 279.

                               *     *     *

     Defendant also asserts he was denied effective assistance
     when defense counsel did not request the removal of juror B,
     who cried after the jury was chosen. This argument is
     without merit.

     “[A]n attorney's decisions relating to the selection of jurors
     generally involves matters of trial strategy, which [courts]
     normally decline to evaluate with the benefit of hindsight.”
     People v. Johnson, 245 Mich.App 243, 259; 631 NW2d 1
     (2001) (citations omitted). It is presumed that jurors are
     competent and impartial and the party alleging the
     disqualification bears the burden of proving its existence.
     People v. Collins, 166 Mich. 4, 9; 131 NW 78 (1911); People v.
     Walker, 162 Mich.App 60, 63; 412 NW2d 244 (1987). This
     Court has previously noted:

           Perhaps the most important criteria in selecting a
           jury include a potential juror's facial expressions,
           body language, and manner of answering
           questions. However, as a reviewing court, “we
           cannot see the jurors or listen to their answers to
           voir dire questions.” For this reason, this Court
           has been disinclined to find ineffective assistance
           of counsel on the basis of an attorney's failure to
           challenge a juror. [People v. Unger, 278 Mich.App
           210, 258; 749 NW2d 272 (2008) (citations
           omitted).]



                                    51
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.264 Page 56 of 69




     Defendant was not denied the effective of assistance of
     counsel related to juror B. The trial court thoroughly
     questioned juror B about her emotions after she was seen
     crying in the courtroom shortly after the jury was chosen.
     The juror indicated her concern for the victim having to
     testify, regardless of whether the allegations were true or
     not. The juror also indicated that she did not believe sexual
     abuse occurred simply because it was reported and indicated
     that she could be fair and impartial. Johnson, 245 Mich.App
     at 259. Moreover, we will not review defense counsel's
     decision to not challenge juror B with the benefit of
     hindsight because it was a strategic decision. Id. at 259. The
     trial court was able to view juror B's facial expressions, body
     language, and manner when answering questions, Unger,
     278 Mich.App at 258, and the trial court did not clearly err
     by impliedly finding that juror B's statement that she could
     be fair and impartial was believable, Johnson, 293 Mich.App
     at 90. Moreover, the record does not disclose any further
     issues with the juror during the proceedings. Thus, defense
     counsel's performance did not fall below an objective
     standard of reasonableness under prevailing professional
     norms and there is no evidence that but for juror B's
     inclusion on the jury, the outcome of the trial would have
     been different.

Campos, 2014 WL 3928803, at *1–3.

     While the state courts do not seem to have addressed Campos’s

third ineffective-assistance claim directly, the Michigan Court of

Appeals did note that defense counsel argued against the prosecutor’s

alleged misconduct in closing argument, rather than objecting to it:

     Moreover, we note that defense counsel addressed the
     prosecutor's arguments in his closing argument and
     attempted to turn them to his advantage. A defendant is not
     allowed to assign error on appeal to something his own

                                    52
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.265 Page 57 of 69




     counsel deemed proper at trial. People v. Green, 228
     Mich.App 684, 691; 580 NW2d 444 (1998).

Campos, 2014 WL 3928803, at *5.


     B.    Clearly established federal law regarding ineffective
           assistance of trial counsel

     To establish ineffective assistance of counsel, a petitioner must

demonstrate that counsel’s performance was objectively unreasonable

and that he was prejudiced by counsel’s action or inaction. Strickland

v. Washington, 466 U.S. 668, 688, 692 (1984). Both prongs must be

satisfied to establish ineffective assistance; if a petitioner cannot satisfy

one prong, the other need not be considered. Id. at 697.

     With respect to performance, “[j]udicial scrutiny of counsel’s

performance must be highly deferential . . . [b]ecause of the difficulties

inherent in making the evaluation, a court must indulge a strong

presumption that counsel’s conduct falls within the wide range of

reasonable professional assistance.” Strickland, 466 U.S. at 689. Yet

the reviewing court is required not simply to give the attorney the

benefit of the doubt, but to affirmatively entertain the range of possible

reasons counsel may have had for proceeding as he did. Cullen v.

Pinholster, 563 U.S. 170, 196 (2011). “[R]eliance on ‘the harsh light of


                                     53
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.266 Page 58 of 69




hindsight’ to cast doubt on a trial that took place” years ago “is precisely

what Strickland and AEDPA seek to prevent.” Harrington v. Richter,

562 U.S. 86, 89 (2011). In addition, the Strickland standard “calls for

an inquiry into the objective reasonableness of counsel’s performance,

not counsel’s subjective state of mind.” Id. at 110.

      The prejudice prong requires a petitioner to show that “there is a

reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.” Strickland, 466

U.S. at 694. 1 “A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id. That “requires a

‘substantial,’ not just ‘conceivable,’ likelihood of a different result.”

Pinholster, 563 U.S. at 189 (quoting Richter, 562 U.S. at 112).

Reviewing courts must determine, based on the totality of the evidence

before the factfinder, “whether there is a reasonable probability that,

absent the errors, the factfinder would have had a reasonable doubt

respecting guilt.” Strickland, 466 U.S. at 695. “[A] verdict or

conclusion only weakly supported by the record is more likely to have


1“The prejudice prong of the ineffective assistance analysis subsumes
the Brecht [v. Abrahamson, 507 U.S. 619 (1993)] harmless-error
review.” Hall v. Vasbinder, 563 F.3d 222, 236 (6th Cir. 2009).


                                      54
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.267 Page 59 of 69




been affected by errors than one with overwhelming record support.”

Id. at 696.

     But on habeas review, a petitioner “must do more than show that

he would have satisfied Strickland’s test if his claim were being

analyzed in the first instance.” Bell v. Cone, 535 U.S. 685, 698–99

(2002); Durr v. Mitchell, 487 F.3d 423, 435 (6th Cir. 2007). The

question on habeas review “is not whether a federal court believes the

state court’s determination under the Strickland standard was incorrect

but whether that determination was unreasonable—a substantially

higher threshold.” Knowles v. Mirzayance, 556 U.S. 111, 123 (2009)

(quoting Schriro v. Landrigan, 550 U.S. 465, 473 (2007)); accord

Richter, 562 U.S. at 101 (“The pivotal question is whether the state

court’s application of the Strickland standard was unreasonable.”).

     Ineffective-assistance claims adjudicated on the merits in the

state court are entitled to double deference on habeas review. The

Supreme Court has stressed that the “standards created by Strickland

and § 2254(d) are both ‘highly deferential,’ . . . and when the two apply

in tandem, review is ‘doubly’ so . . . .” Richter, 562 U.S. at 105 (internal

citations and quotation marks omitted). Accordingly, the Supreme



                                     55
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.268 Page 60 of 69




Court has indicated that “Federal habeas courts must guard against the

danger of equating unreasonableness under Strickland with

unreasonableness under § 2254(d).” Id.

     And because the Strickland standard is general, “a State court has

even more latitude to reasonably determine that a defendant has not

satisfied that standard.” Mirzayance, 556 U.S. at 120. “If this standard

is difficult to meet, that is because it was meant to be.” Richter, 562

U.S. at 102.


     C.    Analysis

     The state courts’ resolutions of these claims were objectively

reasonable. Given the sufficiency of the evidence, counsel could not

have deficiently performed, nor could Campos have suffered any

prejudice, in choosing not to file motions to quash the felony

information or for a directed verdict. Indeed, counsel likely recognized

that both motions would have been futile. Counsel cannot be faulted for

failing to advocate a meritless position or raise a futile objection. Coley,

706 F.3d at 752.

     The State also need not repeat the thorough analyses the

Michigan Court of Appeals conducted with respect to Campos’s claims


                                     56
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.269 Page 61 of 69




regarding Skornia or the juror. In fact, counsel did object to Skornia’s

testimony when the prosecutor asked a follow-up question after

Skornia’s “bit much” testimony and the trial court instructed the jury

that they were the ultimate triers of fact in the case. (2/19/13 Trial Tr.

at 144–46.) Thus, counsel performed as required and Campos did not

suffer any prejudice.

     Moreover, as the Michigan Court of Appeals concluded, defense

counsel was the person in the best position to determine whether the

juror should be excused. “Counsel’s actions during voir dire are

presumed to be matters of trial strategy.” Miller v. Francis, 269 F.3d

609, 615 (6th Cir. 2001). Following an inquiry from the court, defense

counsel agreed with the trial court’s handling of the situation and

deemed the juror suitable for service. (2/19/13 Trial Tr. at 4–7.)

Counsel did not provide ineffective assistance in this regard.

     Finally, with respect to counsel’s lack of objection to the

prosecutor’s closing argument, counsel’s decision was strategic given

that he instead chose to argue against the prosecutor’s points in his own

closing argument. (2/21/13 Trial Tr. at 23–27.) And, again, no

prejudice ensued given the trial court’s instruction to the jury that the



                                    57
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.270 Page 62 of 69




attorneys’ arguments were not evidence, nullifying any errors from the

prosecutor’s closing. (Id. at 60.)

     Finally, above all else, it would not be enough for Campos to

establish both Strickland prongs to show ineffective assistance of

counsel. Rather, on habeas review where each claim was adjudicated

on the merits, Campos must show that the state courts’ determinations

that counsel was not ineffective were unreasonable—a substantially

higher threshold. Knowles, 556 U.S. at 123. He fails to meet that high

burden.

     Thus, Campos is not entitled to habeas relief on Habeas Claim IV.




                                     58
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.271 Page 63 of 69




                             CONCLUSION

     Campos procedurally defaulted Habeas Claims I, II, and III. He

has not shown cause and prejudice to excuse the default. In addition,

he has not shown failure to review the claims would result in a

fundamental miscarriage of justice. Accordingly, as detailed above,

habeas review of Habeas Claims I, II, and III should be barred.

     In any event, the state courts’ rejection of Campos’s claims did not

result in decisions that were contrary to federal law, unreasonable

applications of federal law, or unreasonable determinations of the facts.

Campos was “entitled to a fair trial but not a perfect one.” Delaware v.

Van Arsdall, 475 U.S. 673, 681 (1986); see also United States v. Hasting,

461 U.S. 499, 508–09 (1983) (“[T]here can be no such thing as an error-

free, perfect trial” and the Constitution “does not guarantee such a

trial.”) The state-court decisions in this case were not “so lacking in

justification” that they resulted in “an error well understood and

comprehended in existing law beyond any possibility for fairminded

disagreement.” Richter, 562 U.S. at 103. The formidable threshold for

granting habeas relief has not been met because fairminded jurists

could disagree on the correctness of the state court’s decision.



                                    59
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.272 Page 64 of 69




Yarborough, 541 U.S. at 664. Consequently, habeas relief should be

denied.

      Additionally, the State opposes any requests for bond, oral

argument, or any other relief, including a certificate of appealability.

And the State asserts that Campos is not entitled to habeas relief

because he has not established that the alleged errors had a substantial

and injurious effect on the verdict in this matter. See Brecht, 507 U.S.

at 622.

      The State also contends that Campos has not demonstrated

entitlement to discovery. Unlike typical civil litigants, “[h]abeas

petitioners have no right to automatic discovery.” Johnson v. Mitchell,

585 F.3d 923, 934 (6th Cir. 2009) (quoting Stanford v. Parker, 266 F.3d

442, 460 (6th Cir. 2001)). Rule 6(a) permits district courts to authorize

discovery in habeas corpus proceedings under the Federal Rules of Civil

Procedure only “for good cause.” R. Governing 2254 Cases in the U.S.

Dist. Cts. 6(a). “Rule 6 embodies the principle that a court must provide

discovery in a habeas proceeding only ‘where specific allegations before

the court show reason to believe that the petitioner may, if the facts are

fully developed, be able to demonstrate that he is . . . entitled to relief.’ ”



                                      60
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.273 Page 65 of 69




Williams v. Bagley, 380 F.3d 932, 974 (6th Cir. 2004) (quoting Bracy v.

Gramley, 520 U.S. 899, 908–09 (1997)). “Rule 6 does not ‘sanction

fishing expeditions based on a petitioner’s conclusory allegations.’ ”

Williams, 380 F.3d at 974 (quoting Rector v. Johnson, 120 F.3d 551, 562

(5th Cir. 1997)); Habeas Rule 6(a). “Conclusory allegations are not

enough to warrant discovery under Rule 6; the petitioner must set forth

specific allegations of fact.” Williams, 380 F.3d at 974 (internal

quotation marks and citation omitted). Campos has not met this

burden.

     If this Court denies the petition, the State asserts that Campos is

also not entitled to a certificate of appealability (COA) so as to proceed

further. In order to obtain a COA, a petitioner must make “a

substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). To demonstrate this denial, the petitioner is required to

show that reasonable jurists could debate whether, or agree that, the

petition should have been resolved in a different manner, or that the

issues presented were adequate to deserve encouragement to proceed

further. Slack v. McDaniel, 529 U.S. 473, 483–84 (2000); see also

Miller-El v. Cockrell, 537 U.S. 322, 336 (2003) (“Under the controlling



                                    61
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.274 Page 66 of 69




standard, a petitioner must ‘sho[w] that reasonable jurists could debate

whether (or, for that matter, agree that) the petition should have been

resolved in a different manner or that the issues presented were

adequate to deserve encouragement to proceed further.”) (citations

omitted).

     When a district court rejects a habeas petitioner’s constitutional

claims on the merits, the petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional

claims to be debatable or wrong. Slack, 529 U.S. at 483–84, see also

Dufresne v. Palmer, 876 F.3d 248, 254 (6th Cir. 2017) (“To meet Slack’s

standard, it is not enough for a petitioner to allege claims that are

arguably constitutional; those claims must also be arguably valid or

meritorious.”)

     Likewise, when a district court denies a habeas petition on

procedural grounds without reaching the petitioner’s underlying

constitutional claims, a COA should issue, and an appeal of the district

court’s order may be taken, if the petitioner shows that jurists of reason

would find it debatable whether the petitioner states a valid claim of

the denial of a constitutional right, and that jurists of reason would find



                                    62
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.275 Page 67 of 69




it debatable whether the district court was correct in its procedural

ruling. Slack, 529 U.S. at 484.

      When a plain procedural bar is present, and the district court is

correct to invoke it to dispose of the case, a reasonable jurist could not

conclude either that the district court erred in dismissing the petition or

that the petition should be allowed to proceed further. In such a

circumstance, no appeal would be warranted. Id., see also Dufresne, 876

F.3d at 254.

      “At the end of the day, ‘the gate keeping functions of certificates of

appealability [is to] separate the constitutional claims that merit the

close attention of . . . this court from those claims that have little or no

viability.’ ” Dufresne, 876 F.3d at 254 (quoting Porterfield v. Bell, 258

F.3d 484, 487 (6th Cir. 2001)). Here, this Court should deny Campos a

COA on all of his claims. The claims simply “have little or no viability.”




                                     63
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.276 Page 68 of 69




                                 RELIEF

       For the reasons stated above, this Court should deny the petition.

The Court should also deny Campos any requested discovery,

evidentiary hearings, bond, oral argument, and any other relief he

seeks in this action, including a certificate of appealability.

                                          Respectfully submitted,

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Dated: March 29, 2019
2018-0233871-A\Answer\Campos.C




                                     64
Case 1:18-cv-01096-GJQ-RSK ECF No. 8 filed 03/29/19 PageID.277 Page 69 of 69




                     CERTIFICATE OF SERVICE

     I hereby certify that on March 29, 2019, I electronically filed the

foregoing papers with the Clerk of the Court using the ECF system

which will send notification of such filing to the following:

     HON. GORDON J. QUIST
     MAG. RAY KENT

and I hereby certify that Kari Edgecomb has mailed by United States

Postal Service the papers to the following non-ECF participant:

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